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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
VALENTIN FELICIANO, NO. EDCV 21-862-JGB (AGR)

Plaintiff,
ORDER ACCEPTING FINDINGS AND
V. RECOMMENDATIONS OF UNITED
STATES MAGISTRATE JUDGE
UNKNOWN DEFENDANT,

Defendants.

 

Pursuant to 28 U.S.C. § 636, the Court has reviewed the complaint, records on
file, the Report and Recommendation of the United States Magistrate Judge
(“Report”), the Objections and other filings. Further, the Court has engaged in a de
novo review of those portions of the Report to which Plaintiff has objected. The Court
accepts the findings and recommendation of the Report."

IT IS ORDERED that the complaint is dismissed and judgment be entered

dismissing the entire action without prejudice.

DATED: November 3, 2021

 

 

' The court notes one correction to the Report. Plaintiffs response and
supplemental response to the Order to Show Cause are found at Dkt. Nos. 4 and 7.

 
